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                               UNITED STATES DISTRICT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JENNIFER PANATTONI,                              )
                                                 )
               Plaintiff,                        )
                                                 )       Case No. 17-cv-6710
       v.                                        )
                                                 )
VILLAGE OF FRANKFORT,                            )
                                                 )
               Defendant.                        )

                                          COMPLAINT

       1.      Plaintiff Jennifer Panattoni (“Officer Panattoni”) brings this action against the

Village of Frankfort (the “Village” or “Defendant”) for violations of Title VII of the Civil Rights

Act of 1964 (“Title VII”), 42 U.S.C. § 2000e et seq., and the Illinois Human Rights Act

(“IHRA”), 775 ILCS 5/1-101 et seq. In support of her Complaint, Officer Panattoni alleges and

states the following:

                                       INTRODUCTION

       2.      Jennifer Panattoni, one of the only female officers in the Frankfort Police

Department (“FPD”), has served her community with distinction for more than 14 years. But

when she became pregnant in late 2015 and sought to keep working, Defendant responded with

persistent discrimination. It refused to provide her a uniform that would fit her changing body. It

refused to provide her the properly-sized protective gear that would keep her safe while she

continued patrolling the streets. It refused to allow her to carry some of her equipment in her

pockets and vest so as to lessen the strain on her abdomen caused by her 25-pound duty belt.

Despite allowing non-pregnant officers to take personal breaks while on duty without having to

use benefit time, it refused to allow her to do the same. And when Officer Panattoni asked to
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modify her job duties as her pregnancy progressed, Defendant refused, claiming that it would

only grant modified-duty assignments to officers with on-the-job injuries. In retaliation for

Officer Panattoni asserting her rights under federal and Illinois law, Defendant singled her out

for disparate treatment, ranging from threats of unwarranted discipline to denials of the

equipment she needed to do her job.

       3.      Ultimately, Defendant forced Officer Panattoni off the job and onto leave simply

because she was pregnant.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this matter pursuant to 42 U.S.C. § 2000e-5(f)(3)

and 28 U.S.C. § 1331, and should exercise its supplemental jurisdiction over Officer Panattoni’s

state law claims pursuant to 28 U.S.C. § 1367.

       5.      Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202.

       6.      Venue is proper in this Court under 28 U.S.C. § 1391 because the parties reside in

this District, and the unlawful practices complained of occurred within this District.

                                            PARTIES

       7.      Plaintiff Jennifer Panattoni is a resident of Manhattan, Illinois. She is a

nonexempt employee of Defendant within the meaning of 42 U.S.C. § 2000e(f) and 775 ILCS

5/2-101(A). Since June 2003 and continuing through the present, Officer Panattoni has been

employed as a full-time police officer in FPD, which is an organizational division of the Village.

       8.      Defendant Village of Frankfort is an incorporated village located in the southern

suburbs of Chicago. The Village is a “person” within the meaning of 42 U.S.C. § 2000e(a), as

well as an “employer” within the meaning of 42 U.S.C. § 2000e(b) and 775 ILCS 5/2-101(B).




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                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       9.      On July 5, 2016, Officer Panattoni filed a timely charge of discrimination with the

Equal Employment Opportunity Commission (“EEOC”), alleging that Defendant engaged in sex

(pregnancy) and disability discrimination and retaliation. This charge was cross-filed with the

Illinois Department of Human Rights (“IDHR”). On November 21, 2016, Officer Panattoni filed

an amended charge, supplementing her allegations as to Defendant’s unlawful conduct. On June

20, 2017, the EEOC issued a Notice of Right to Sue, attached as Exhibit 1. Officer Panattoni has

forwarded the EEOC’s Notice of Right to Sue to IDHR and requested that IDHR issue its finding,

which request is pending.

                            FACTS GIVING RISE TO THIS ACTION

       10.     Defendant hired Officer Panattoni on or about June 26, 2003 as a full-time police

officer. In 2010, FPD promoted her to Senior Patrol Officer.

       11.     Officer Panattoni has earned numerous awards and commendations in the 14

years that she has served the Village as a police officer.

       12.     As a Senior Patrol Officer, Officer Panattoni’s duties include patrolling the

Frankfort area in a marked squad car, engaging in community-building activities with residents,

issuing traffic citations and warnings, responding to calls for service, investigating complaints of

criminal and non-criminal activity, conducting crime prevention activities such as business

inspections, providing traffic direction and control, and making arrests when necessary.

       13.     FPD requires officers working patrol shifts to wear a uniform, body armor, and a

duty belt. Body armor is typically worn inside a fabric vest with external pockets (the “vest

carrier”), which is then worn over the shirt. The body armor also can be worn under an officer’s

shirt. The duty belt is worn around the waist and weighs about 25 pounds when worn with all


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required equipment, generally including an officer’s gun, ammunition, Taser, pepper spray,

handcuffs, baton, and radio. With permission from the Police Chief, a patrol officer may carry

some of these required items in pockets on his or her vest carrier instead of carrying them on the

duty belt.

       14.     Officer Panattoni is one of only three female officers employed by FPD, and is

the only woman who works full-time patrol shifts. All of FPD’s supervising officers are male,

including the Police Chief, the two Deputy Chiefs, and the four Sergeants.

       15.     In early 2014, Officer Panattoni began undergoing fertility treatments in order to

become pregnant. During this period, she sought and was denied reasonable accommodations for

her medical treatment.

       16.     In August 2014, believing she was experiencing pregnancy and disability

discrimination, Officer Panattoni filed a charge of discrimination with the EEOC. She ultimately

decided, however, not to pursue legal action at that time.

   Defendant’s Policies and Practices Regarding Job Modification and Pregnant Officers

       17.     At all relevant times, FPD maintained a Temporary Modified-Duty Assignments

Policy (the “Modified-Duty Policy”) allowing employees to request a temporary modified-duty

assignment to accommodate “short-term injuries or illnesses.” (January 19, 2015 Modified-Duty

Policy, Ex. 2, § 1054.4.; November 16, 2015 Modified-Duty Policy, Ex. 3, § 1054.4).

       18.     Defendant’s practice is to grant temporary modified-duty assignments to non-

pregnant officers who have experienced an on-the-job injury requiring accommodation.

       19.     On information and belief, Defendant does not limit its assignments of temporary

modified-duty and non-patrol tasks to police officers injured on the job, and has also assigned

such tasks to non-pregnant officers simply in order to accommodate their personal preferences.



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       20.     At all relevant times, FPD’s Modified-Duty Policy included a pregnancy notice

provision that required “[p]regnant employees [to] notify their immediate supervisors as soon as

practicable and provide a statement from their medical providers identifying any pregnancy-

related job restrictions or limitations.” (Ex. 2, § 1054.7.1; Ex. 3, § 1054.7.1.).

       21.      However, contrary to Illinois law, FPD’s policy manual prior to November 2015

failed to notify employees of their rights to seek and be granted an array of possible reasonable

accommodations for pregnancy, childbirth, and related conditions, other than light duty or leave.

And in November 2015, after Officer Panattoni informed Defendant that she would be

undergoing an IVF embryo transfer procedure that she hoped would lead to pregnancy, FPD

amended its (already deficient) Modified-Duty Policy to delete any reference to Illinois’

pregnancy accommodations statute, 775 ILCS 5/2-102, or to FPD’s obligation to provide

pregnant employees with modified-duty assignments upon request if such requests could be

reasonably accommodated. (Ex. 3, § 1054.7.)

       22.     On information and belief, Defendant never has granted a temporary modified-

duty or non-patrol assignment to an officer as an accommodation for pregnancy.

   Defendant’s Refusal to Consider Reasonable Accommodations for Officer Panattoni’s
                                       Pregnancy

       23.     Pursuant to FPD’s policy, on or about January 8, 2016, Officer Panattoni

informed Police Chief John Burica (“Chief Burica”) that she was pregnant. She informed him

that her doctor had not imposed any restrictions on her ability to continue her patrol duties, and

provided a doctor’s note to that effect. She also told him that she anticipated that, as her

pregnancy progressed, she would likely require accommodations, such as modification of her job

duties, to continue working, and attempted to initiate a dialogue about such accommodations.




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       24.     Chief Burica refused to discuss accommodations. He told Officer Panattoni that

modified-duty assignments were only available to officers injured on the job. He explained that

he did not want to “set a precedent” by extending “light duty” to a pregnant officer, and that he

only had to treat Officer Panattoni like “someone with a broken leg” whose injury occurred

during off-duty hours. He told Officer Panattoni that if she could not perform her job duties

without any changes, she would have to go on leave.

Defendant’s Denial of Reasonable Accommodations During Officer Panattoni’s Pregnancy

       25.     Over the next two months, Officer Panattoni and her union representative, Roy

Carlson (“Carlson”), attempted to negotiate with Defendant for a temporary modification of

Officer Panattoni’s duties during her pregnancy. Defendant rejected their proposals. Chief Burica

consistently maintained that, because Officer Panattoni was pregnant, FPD had no obligation to

allow her to perform available modified-duty or non-patrol tasks as it would for an officer who

was injured on the job.

       26.     During this period, Officer Panattoni identified for Chief Burica numerous

available non-patrol tasks that she could perform within FPD, such as recordkeeping, recording

“walk-in” complaints from members of the public, conducting witness interviews, assisting in

follow-up investigations, performing clerical tasks, and assisting in crime prevention outreach.

Defendant rejected these proposals and consistently rebuffed Officer Panattoni’s efforts to

discuss the availability of such tasks.

       27.     Officer Panattoni and Carlson further proposed that Defendant could

accommodate Officer Panattoni’s request for modified duty with a temporary assignment outside

the FPD, such as performing administrative work at the Village Hall. Defendant rejected that

request as well, claiming it posed an unspecified conflict with FPD’s policies on light duty.



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     Defendant’s Additional Failures to Accommodate Officer Panattoni’s Pregnancy

       28.     In addition to refusing to engage in a good faith, interactive process concerning

whether temporary job modifications might be available to Officer Panattoni, Defendant further

refused to provide Officer Panattoni with the clothing and gear needed to continue performing

her patrol duties safely as her pregnancy progressed.

       29.     Defendant repeatedly refused Officer Panattoni’s requests for a maternity uniform

that would accommodate her changing body, and ultimately only provided her with two ill-fitting

men’s shirts and one pair of non-maternity pants. Officer Panattoni was charged with finding her

own suspenders to keep the pants from falling down.

       30.     On information and belief, Defendant did not refuse or delay in processing similar

requests for uniforms when made by non-pregnant officers.

       31.     Defendant also refused Officer Panattoni’s requests for extenders to enable her to

comfortably wear her body armor. Without extenders to fit her body armor and vest carrier over

her shirt or adequately-sized shirts to fit her body armor underneath, Officer Panattoni was

forced to continue wearing body armor that exerted continual pressure on her abdomen, made it

difficult for her to breathe, and led to the vest carrier regularly popping open with any exertion or

sudden movement.

       32.     On information and belief, Defendant did not refuse similar requests for body

armor or equipment when made by non-pregnant officers.

       33.     Defendant also denied Officer Panattoni’s requests for permission to carry her

equipment, such as pepper spray, radio, and Taser, in pockets on her vest carrier in order to

relieve the painful pressure that her 25-pound duty belt exerted on her growing abdomen.




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         34.    On information and belief, Defendant has granted non-pregnant officers

permission to remove equipment from their duty belts and to store such equipment in pockets on

their vest carriers.

         35.    Additionally, after Officer Panattoni disclosed her pregnancy to Chief Burica,

Defendant withdrew permission to make up time outside of her regular shift to attend pregnancy-

related doctor’s appointments, and instead required her to use accrued sick leave or other benefit

time.

         36.    On information and belief, Defendant regularly permitted non-pregnant officers –

including Officer Panattoni herself, prior to her pregnancy – to take personal breaks from duty of

up to 60 minutes without having to use accrued sick leave or other benefit time.

        Defendant’s Forcing Officer Panattoni to Take an Involuntary Leave of Absence

         37.    On or about March 17, 2016, when Officer Panattoni was approximately 5 months

pregnant, she gave Chief Burica a new doctor’s note. The note stated that she should not

continue to wear her 25-pound duty belt and recommended that she avoid physical altercations.

The note also recommended that Officer Panattoni “perform light duty/clerical work” until the

end of her pregnancy.

         38.    Chief Burica told Officer Panattoni that the doctor’s note meant she no longer

could work as a patrol officer, and that, because she had not been injured on the job, Defendant

immediately would place her on leave.

         39.    Fearing that taking leave so early would result in her running out of accrued paid

benefit time – and possibly losing her job – before giving birth, Officer Panattoni told Chief

Burica that she remained willing and able to continue working patrol, including wearing her duty




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belt. Chief Burica refused, stating that he could not allow Officer Panattoni to continue working

“now that a doctor had placed restrictions on [her],” or words to that effect.

       40.     Within approximately a month of being placed on involuntary leave, Officer

Panattoni exhausted her accrued paid benefit time and was removed from Defendant’s payroll.

       41.     In order to avoid loss of all income during the remainder of her pregnancy and

recovery from childbirth, Officer Panattoni applied to Defendant’s Police Pension Board to draw

disability pension benefits.

       42.     Based on Defendant’s refusal to allow Officer Panattoni to continue working in a

modified capacity while she was pregnant, Defendant’s Police Pension Board authorized her

receipt of disability pension benefits, which amounted to only half of her base salary.

       43.     During Officer Panattoni’s involuntary leave, Defendant did not allow her to

attend accident reconstruction training classes for which she previously had been approved and

which would have made her eligible for enhanced pay, even though the duties required for such

training were consistent with her doctor’s recommendations and she was willing and able to

attend the training while pregnant.

       44.      During her roughly 7-month leave, Officer Panattoni also lost creditable service

time for her police pension and was unable to accrue any benefit time.

       45.     Officer Panattoni gave birth on August 6, 2016 and returned to work on October

17, 2016.

       46.     During Officer Panattoni’s involuntary leave, FPD reassigned a part-time patrol

officer, Officer Teri O’Donnell (“Officer O’Donnell”), to a “hybrid” role performing many non-

patrol duties of the kind that Officer Panattoni previously had proposed as an accommodation

during her pregnancy. These duties included maintaining records, attending community events,



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assisting with detective work, and assisting with crime prevention. On information and belief,

Officer O’Donnell was not pregnant and Defendant assigned her these non-patrol duties to

accommodate her personal preference to perform such tasks instead of patrol duties.

Defendant’s Discriminatory Refusal to Hire Officer Panattoni for Other FPD Positions and
                                      Retaliation

       47.     Before Defendant forced her onto leave, Officer Panattoni had applied within

FPD for a vacant Drug Abuse Resistance Education (DARE) officer position. Although Officer

Panattoni was qualified for the position, and Defendant told her that she had interviewed well, in

June 2016, while Officer Panattoni was on involuntary leave, Defendant selected a male officer

with less seniority for the DARE officer job.

       48.     Since Officer Panattoni’s return to work in October 2016, Defendant has

subjected her to a pattern of disparate treatment, including but not limited to singling her out for

unwarranted scrutiny and threatened discipline, depriving her of uniforms and equipment needed

to do her job effectively, and denying her requested training opportunities. Defendant also made

improper inquiries into whether Officer Panattoni was again undergoing fertility treatments.

       49.     In addition, in April 2017, Defendant denied Officer Panattoni’s husband,

Sergeant Joel Panattoni, a promotion to Deputy Chief, in favor of a less senior candidate.

       50.     In August 2017, after Officer Panattoni informed Defendant she was undergoing

fertility treatments in order to have a second child, Defendant denied Officer Panattoni a

promotion to Detective, instead selecting a male officer with less seniority. Defendant also

threatened Officer Panattoni with removal from duty as an evidence technician, a role that comes

with a stipend, after she requested assistance to avoid excessive exposure to fingerprint dust, a

substance contraindicated for women seeking to become pregnant.




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                                 FIRST CAUSE OF ACTION
                          Title VII, 42 U.S.C. §§ 2000e-2(a), 2000e(k)
                       Disparate Treatment Because of Sex (Pregnancy)

       51.     Officer Panattoni realleges and incorporates by reference, as if fully set forth

herein, each and every allegation of this Complaint.

       52.     Defendant discriminated against Officer Panattoni based on her sex, and because

of her pregnancy, in violation of Title VII of the Civil Rights Act of 1964, as amended by the

Pregnancy Discrimination Act, by refusing to accommodate her pregnancy and/or pregnancy-

related conditions while accommodating other, non-pregnant workers who were similar in their

ability or inability to work, and instead forcing her onto leave.

       53.     Defendant’s purported reasons for refusing to accommodate Officer Panattoni are

a pretext for sex discrimination.

       54.      Defendant’s refusal to accommodate Officer Panattoni imposed a significant

burden on her, and Defendant’s purported reasons for its refusal are not sufficiently strong to

justify that burden.

       55.     Defendant discriminated against Officer Panattoni based on her sex, and because

of her pregnancy, by denying her the DARE officer position in favor of a less senior male

applicant who was not pregnant. Defendant’s purported reasons for this decision are a pretext for

sex discrimination.

       56.     As a result of Defendant’s unlawful sex discrimination, Officer Panattoni suffered

significant monetary loss, including loss of earnings and other benefits.

       57.     As a result of Defendant’s unlawful sex discrimination, Officer Panattoni suffered

emotional pain, suffering, and other nonpecuniary losses.




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                                SECOND CAUSE OF ACTION
                          Title VII, 42 U.S.C. §§ 2000e-2(a), 2000e(k)
                         Disparate Impact Because of Sex (Pregnancy)

       58.     Officer Panattoni realleges and incorporates by reference, as if fully set forth

herein, each and every allegation of this Complaint.

       59.     Defendant discriminated against Officer Panattoni based on her sex and

pregnancy because its policy of limiting modified-duty assignments to workers injured on the job

has a disparate impact on pregnant officers, in violation of Title VII of the Civil Rights Act of

1964, as amended by the Pregnancy Discrimination Act.

       60.     Defendant’s policy guarantees that any officer who becomes pregnant and

requires job modifications to continue working will be forced to go on leave.

       61.     Defendant’s policy of limiting modified-duty assignments to officers injured on

the job cannot be justified by business necessity.

       62.     As a result of Defendant’s unlawful sex discrimination, Officer Panattoni suffered

significant monetary loss, including loss of earnings and other benefits.

                                 THIRD CAUSE OF ACTION
                          Title VII, 42 U.S.C. §§ 2000e-3(a), 2000e(k)
                                           Retaliation

       63.     Officer Panattoni realleges and incorporates by reference, as if fully set forth

herein, each and every allegation of this Complaint.

       64.     Defendant retaliated against Officer Panattoni, in violation of Title VII of the

Civil Rights Act of 1964, because she engaged in protected activity, including but not limited to

filing charges of discrimination with the EEOC and IDHR.

       65.     Defendant’s adverse actions would be likely to dissuade a reasonable employee

from making or supporting a charge of discrimination.



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       66.     As a result of Defendant’s unlawful retaliation, Officer Panattoni suffered

significant monetary loss, including loss of earnings and other benefits.

       67.     As a result of Defendant’s unlawful retaliation, Officer Panattoni suffered

emotional pain, suffering, and other nonpecuniary losses.

                              FOURTH CAUSE OF ACTION
                                  IHRA, 775 ILCS 5/2-102
               Failure to Provide Reasonable Accommodations for Pregnancy

       68.     Officer Panattoni realleges and incorporates by reference, as if fully set forth

herein, each and every allegation of this Complaint.

       69.     Defendant failed to make reasonable accommodations for Officer Panattoni’s

pregnancy, childbirth, or medical or common conditions related to pregnancy or childbirth, in

violation of the IHRA, 775 ILCS 5/2-102(J), including but not limited to requiring her to take

leave even though another reasonable accommodation could have been provided.

       70.     Defendant denied Officer Panattoni reasonable accommodations even though

Defendant granted similar accommodations to non-pregnant employees and it would not have

imposed undue hardship on Defendant to grant such accommodations to Officer Panattoni.

       71.     As a result of Defendant’s unlawful conduct, Officer Panattoni suffered

significant monetary loss, including loss of earnings and other benefits.

       72.     As a result of Defendant’s unlawful conduct, Officer Panattoni suffered emotional

pain, suffering, and other nonpecuniary losses.

                                FIFTH CAUSE OF ACTION
                                   IHRA, 775 ILCS 5/2-102
                          Disparate Treatment Because of Pregnancy

       73.     Officer Panattoni realleges and incorporates by reference, as if fully set forth

herein, each and every allegation of this Complaint.



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        74.     Defendant discriminated against Officer Panattoni based on her pregnancy,

childbirth, or medical or common condition related to pregnancy or childbirth, in violation of the

IHRA, which provides that pregnant workers “shall be treated the same for all employment-

related purposes . . . as other persons not so affected but similar in their ability or inability to

work, regardless of the source of the inability to work”, 775 ILCS 5/2-102(I).

        75.     As a result of Defendant’s unlawful pregnancy discrimination, Officer Panattoni

suffered significant monetary loss, including loss of earnings and other benefits.

        76.     As a result of Defendant’s unlawful pregnancy discrimination, Officer Panattoni

suffered emotional pain, suffering, and other nonpecuniary losses.

                                  SIXTH CAUSE OF ACTION
                                    IHRA, 775 ILCS 5/2-102
                             Disparate Impact Because of Pregnancy

        77.     Officer Panattoni realleges and incorporates by reference, as if fully set forth

herein, each and every allegation of this Complaint.

        78.     Defendant discriminated against Officer Panattoni based on her pregnancy,

childbirth, or medical or common condition related to pregnancy or childbirth, in violation of the

IHRA, 775 ILCS 5/2-102, because its policy of limiting modified-duty assignments for workers

injured on the job has a disparate impact on pregnant officers.

        79.     Defendant’s policy guarantees that any officer who becomes pregnant and

requires job modifications to continue working will be forced to go on leave.

        80.     Defendant’s policy of limiting modified-duty assignments to officers injured on

the job cannot be justified by business necessity.

        81.     As a result of Defendant’s unlawful pregnancy discrimination, Officer Panattoni

suffered significant monetary loss, including loss of earnings and other benefits.



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                               SEVENTH CAUSE OF ACTION
                                 IHRA, 775 ILCS 5/6-101(A)
                                        Retaliation

       82.     Officer Panattoni realleges and incorporates by reference, as if fully set forth

herein, each and every allegation of this Complaint.

       83.     Defendant retaliated against Officer Panattoni, in violation of the IHRA, 775

ILCS 5/6-101(A), because she engaged in protected activity, including but not limited to filing

charges of discrimination with the EEOC and IDHR.

       84.     As a result of Defendant’s unlawful retaliation, Officer Panattoni suffered

significant monetary loss, including loss of earnings and other benefits.

       85.     As a result of Defendant’s unlawful retaliation, Officer Panattoni suffered

emotional pain, suffering, and other nonpecuniary losses.

                                    PRAYER FOR RELIEF

       For the foregoing reasons, Officer Panattoni respectfully requests that the Court grant the

following relief:

       A.      Declaratory relief, including but not limited to a declaration that Defendant

               violated Title VII and the IHRA;

       B.      Injunctive relief, including but not limited to revision of Defendant’s policies with

               respect to accommodating pregnancy, childbirth, and related conditions, so that

               they comply with Title VII and the IHRA;

       C.      Compensation for loss of income and benefits;

       D.      Compensatory damages, including for emotional distress;

       E.      Pre-judgment and post-judgment interest at the highest lawful rate;




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      F.     Costs incurred, including reasonable attorneys’ fees to the extent allowable by

             law; and

      G.     Such other relief as the Court deems just and proper.

                                      JURY DEMAND

      Officer Panattoni demands a jury trial on the matters alleged herein.


Dated: September 18, 2017                   Respectfully submitted,

                                            /s/ Lorie A. Chaiten
                                            Counsel for the plaintiff

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